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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 CLIFFORD GEORGE CAMERON, II,                 )
 AS EXECUTOR OF THE ESTATE OF                 )
 FREDRICK CORWIN ALLEN,                       )
                                              )
       Plaintiff,                             )
                                              )
                                                     Case No.: 1:19-cv-05615-WMR
 v.                                           )
                                              )
 JACKSON NATIONAL LIFE                        )
 INSURANCE COMPANY,                           )
                                              )
       Defendant.                             )

           BRIEF IN SUPPORT OF PLAINTIFF’S MOTION FOR
                  SANCTIONS AGAINST DEFENDANT

      Plaintiff, Clifford George Cameron, II, as Executor of the Estate of Frederick

Corwin Allen (the “Estate”), hereby moves for an order sanctioning Defendant for

its failure to comply with this Court’s August 11, 2020 Order (the “August Order”).

In support of his motion, Plaintiff respectfully states as follows:

                    FACTUAL AND PROCEDURAL BACKGROUND

      Plaintiff filed this lawsuit to recover funds Defendant owes the Estate pursuant

to an annuity purchased by Mr. Allen and his wife (collectively, the “Allens”). The

dispute centers around a fraudulent request to withdraw all the annuity funds, which

Defendant improperly processed and paid after the Allens were deceased. The
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payment was never received by the Estate—the named beneficiary under the

annuity.

      On May 22, 2020, Plaintiff served his First Continuing Discovery Requests

(“Discovery Requests”) upon Defendant.           These requests are comprised of

interrogatories, requests to produce, and requests for admissions. Two months later,

on July 21, 2020, Defendant served its responses to Plaintiff’s Discovery Requests

upon Plaintiff. A dispute arose between the parties regarding, among other things,

the sufficiency of Defendant’s responses to Plaintiff’s Discovery Requests.

      On August 11, 2020, this Court held a hearing to resolve the discovery dispute

and ultimately directed Defendant to (1) answer any questions and produce any

documents that had been withheld based on objections of unduly burdensome,

vague, and overbroad, (2) respond to Plaintiff’s interrogatories without referring to

documents generally, (3) produce certain e-mails by August 14, 2020, and (4)

produce any complaints and reprimands against employees who touched the

withdrawal request and processed it. See Excerpts of Transcript of Proceedings from

August 11, 2020 hearing (the “Transcript”) attached as Exhibit “A,” p. 18, lines 14-

25, p. 19, lines 1-4, p. 31, lines 2-11, p. 29, lines 8-15. Defendant’s counsel further

made representations to the Court that it was compiling certain documents that




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would resolve Plaintiff’s issues regarding administrative procedures. See Ex. A,

Transcript, p. 19, lines 18-25, p. 20, lines 10-21.

      On August 14, 2020, Defendant produced twelve pages of documents, none

of which were e-mails. See Declaration of Plaintiff’s Counsel, Samantha Tzoberi

(“Mrs. Tzoberi”) attached as Exhibit “B.”

      On August 18, 2020, Mrs. Tzoberi e-mailed Defendant’s counsel, Michael

Broadbent, inquiring as to when Defendant’s narrative responses to Plaintiff’s

interrogatories would be sent to her. See id. He did not respond to the inquiry. See

id.

      On September 3, 2020, Mrs. Tzoberi e-mailed Mr. Broadbent regarding a

missing date and time stamp on the fax at issue in this lawsuit. See id. Mr. Broadbent

said he would investigate and also advised Mrs. Tzoberi that in completing the

privilege log, he noted that some documents marked confidential contained

information about the Allens and there was some information that inadvertently was

not redacted in Defendant’s production. See id. Mr. Broadbent informed Mrs.

Tzoberi that revised documents would be sent along with the privilege log by the

start of the next week. See id.

      On September 8, 2020, Mr. Broadbent sent an e-mail to Mrs. Tzoberi stating

that he will send his material to her the next day. See id.

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      On September 29, 2020, Mr. Broadbent e-mailed Mrs. Tzoberi stating that he

thought he had sent the privilege log and asking her to let him know if not, and he

would get it wrapped up that day. See id. Mrs. Tzoberi responded stating the

privilege log had not been sent and asked that the outstanding discovery be sent to

her. See id. Mr. Broadbent assured Mrs. Tzoberi that he would get everything over

to her “ASAP.” See id.

      On October 13, 2020, Mrs. Tzoberi sent an e-mail to Mr. Broadbent requesting

that the supplemental responses and privilege log be sent to her by the next day. See

id. At 11:02 p.m., Mr. Broadbent e-mailed a copy of Defendant’s expert report. See

id. Mrs. Tzoberi responded via e-mail stating her objection to the expert report and

advising that she would contact Chambers tomorrow to ask for a hearing to resolve,

inter alia, the outstanding discovery issues. See id. Mr. Broadbent responded with

a one-page privilege log referring to seven pages of its document production and

stating Defendant had not withheld any documents entirely. See id. Mr. Broadbent

once again assured Mrs. Tzoberi that he would gather the other material. See id.

Mr. Broadbent also stated that the parties should confer before speaking with the

Judge. See id. Defendant once again failed to supplement its discovery responses

as required by the August Order and made no effort to contact Mrs. Tzoberi. See id.




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      Consequently, on or about October 19, 2020, Mrs. Tzoberi contacted

Chambers requesting a conference to address Defendant’s failure to comply with the

August Order. See id. On or about October 27, 2020, Ms. Lundy advised Mrs.

Tzoberi that she was authorized to file a formal motion. See id. Mrs. Tzoberi

immediately ordered a transcript of the hearing. See id.

      On November 5, 2020, Mrs. Tzoberi made one last attempt to resolve the

discovery issues without Court intervention by sending Mr. Broadbent an e-mail

summarizing the discovery still outstanding per the Court’s August Order. See id.

As of this filing, Mrs. Tzoberi has not received a response. See id.

      In short, Defendant has willfully failed to comply with this Court’s August

Order and, as discussed in more detail below, should be sanctioned.

                  ARGUMENT AND CITATION OF AUTHORITY

      F. R. CIV. P 37(b)(2)(A) provides that if a party fails to obey an order to

provide or permit discovery, the Court may make such orders in regard to that failure

as are just and may invoke sanctions. Some of the available sanctions as set forth in

Rule 37 are:

      (i) directing that the matters embraced in the order or other designated
      facts be taken as established for purposes of the action, as the prevailing
      party claims;




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      (ii) prohibiting the disobedient party from supporting or opposing
      designated claims or defenses, or from introducing designated matters
      in evidence;
      (iii) striking pleadings in whole or in part;
      (iv) staying further proceedings until the order is obeyed;
      (v) dismissing the action or proceeding in whole or in part;
      (vi) rendering a default judgment against the disobedient party; or
      (vii) treating as contempt of court the failure to obey any order except
      an order to submit to a physical or mental examination.

      F. R. CIV. P 37(b)(2)(A)(i)-(vii). The purpose of these sanctions is to punish

a party who fails to comply with, or disregards, an order. See Purposes of

sanctions, O’CONNOR’S FEDERAL RULES CIVIL TRIALS, ch. 6-A, § 15.1 (2020 ed.).

When considering sanctions, a court should ensure that any discovery sanction

comports with due process. See Ins. Corp. of Ir., Ltd. v. Compagnie des Bauxites de

Guinee, 456 U.S. 694, 705 (1982). The sanctions imposed must be just and have a

direct relationship to the offensive conduct. See Martin v. Brown, 63 F.3d 1252,

1263-64 (3d Cir. 1995); Nilsson, Robbins, Dalgarn, Berliner, Carson & Wurst v. La.

Hydrolec, 854 F.2d 1538, 1546 (9th Cir. 1988); O’CONNOR’S FEDERAL RULES at ch.

6-A, § 15.1. An oral directive from the Court, like the August Order, is a sufficient

basis for Rule 37(b) sanctions.1      See Not obeying court order, O’CONNOR’S


1
  If this Court deems the oral August Order insufficient, Plaintiff respectfully
requests that this motion for sanctions be converted to a motion to compel and that
the declaration of Samantha Tzoberi serve as the certification of counsel.
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FEDERAL at ch. 6-A, § 15.3.1; Halas v. Consumer Servs., 16 F.3d 161, 164 (7th Cir.

1994) (oral directive from court sufficient basis for F. R. CIV. P 37(b) sanctions);

Jones v. Uris Sales Corp., 373 F.2d 644, 647-648 (2d Cir. 1967) (oral order sufficient

basis for F. R. CIV. P 37(b) sanction striking answer).

      Here, Defendant willfully failed to comply with the August Order as it

pertains to the following discovery:

      INTERROGATORY 1: Please describe all steps taken by Jackson in
      processing the Withdrawal Request, starting from receipt of the
      Withdrawal Request through sending the Check to 3049 Alberta Drive,
      Marietta, GA 30062 and confirming the alleged receipt of the Check.
      RESPONSE: The steps taken in processing the Withdrawal Request
      are described in Jackson’s policies and procedures, including but not
      limited to JNL-058, and such policies and procedures are incorporated
      herein. By way of further response, Jackson incorporates as its response
      the documents produced in response to Plaintiff’s Request 4 in
      Plaintiff’s First Requests for Production of Documents. Jackson’s
      investigation is ongoing and it reserves the right to supplement its
      response.

      Defendant has failed to provide a narrative response.

      INTERROGATORY 3: Please describe all steps taken and identify
      all Documents used or referenced by the Representative, or anyone else
      at Jackson, to verify the authenticity of Mr. Allen’s alleged signature
      on the Withdrawal Request.
      RESPONSE: The steps taken in verifying signatures are described in
      Jackson’s policies and procedures, including but not limited to JNL-
      058 and JNL-072, and such policies and procedures are incorporated
      herein. Steps taken to verify the signatures at issue are also described
      in the Special Investigations Unit file. By way of further response,
      Jackson incorporates as its response the documents produced in

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      response to Plaintiff’s Request 2 and Request 4 in Plaintiff’s First
      Requests for Production of Documents. Jackson’s investigation is
      ongoing and it reserves the right to supplement its response.

      Defendant has failed to provide a narrative response.

      INTERROGATORY 4: Please state all facts and identify all
      Documents that Jackson contends makes the Representative qualified
      to process withdrawal requests and verify signatures, including, but not
      limited to, any formal training the Representative received from
      Jackson.
      RESPONSE: Jackson objects to this Interrogatory to the extent it is
      unduly burdensome and vague. Without waiving any objection,
      Jackson trains its representatives to ensure that Jackson satisfies all
      legal and contractual requirements. The steps taken in verifying
      signatures are described in Jackson’s policies and procedures, including
      but not limited to JNL-058 and JNL-072, and such policies and
      procedures are 4 incorporated herein. By way of further response,
      Jackson incorporates the documents produced in response to Plaintiff’s
      Request 2 and Request 4 in Plaintiff’s First Requests for Production of
      Documents. Jackson’s investigation is ongoing and it reserves the right
      to supplement its response.

      Defendant has failed to provide a narrative response. Defendant has

failed to withdraw its boilerplate objection, and it remains unclear whether

information is being withheld.

      INTERROGATORY 6: Please describe all steps taken by Jackson to
      investigate Plaintiff’s fraud complaint related to the Withdrawal
      Request and Check deposit. For all steps, identify the department and
      person involved, the date, and a description of what was done.
      RESPONSE: Jackson objects to this Interrogatory to the extent it seeks
      information protected by attorney-client privilege or any other
      confidentiality doctrine. Without waiving any objection, Jackson
      incorporates the Special Investigations Unit file describing and

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      recording the steps taken, and any other documents produced in
      response to Plaintiff’s Request 9 and Request 10 in Plaintiff’s First
      Requests for Production of Documents. Jackson’s investigation is
      ongoing and it reserves the right to supplement its response.

      Defendant has failed to provide a narrative response. Defendant’s

privilege log does not appear to address the objections in this response.

      INTERROGATORY 21: Please identify the laws, regulations, and
      standards You reference in Your thirteenth defense, and state how You
      complied with them.
      RESPONSE: Jackson incorporates its Initial Disclosures and policy
      documents produced in response to Plaintiff’s requests as though fully
      set forth herein. Jackson’s investigation is ongoing and it reserves the
      right to supplement its response.

      Defendant has failed to provide a narrative response.

      REQUEST FOR PRODUCTION 1: All agreements pertaining to the
      Annuity, including, but not limited to, the Annuity, any other contracts,
      account opening Documents, authorizations, policy terms, powers of
      attorney or discretionary authority agreements, and new account forms.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. . .

      Defendant’s privilege log does not appear to address the objections in this

response.

      REQUEST FOR PRODUCTION 4: All Documents relating to any
      withdrawal of funds from the Annuity, including, but not limited to, (1)
      the Withdrawal Request, (2) both sides of the 3 Check, (3) any
      Documents showing the amount of the withdrawal charge imposed as
      a result of the Withdrawal Request, (4) any other withdrawal request
      forms and checks, as well as any Document showing how the respective

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      withdrawal request was transmitted to Jackson and by whom, (5) any
      IRS Form 1099-R, and (6) proof of mailing/delivery related to the
      Withdrawal Request, Check, other withdrawal requests, and IRS Form
      1099-R.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. Jackson further objects to the extent the
      Request is overbroad, . . .

      Defendant’s privilege log does not appear to address the objections in this

response. Defendant has failed to withdraw its boilerplate objection, and it remains

unclear whether documents are being withheld.

      REQUEST FOR PRODUCTION 5: All Documents relating to any
      transfer of the Annuity value, including, but not limited to, a copy of
      the transfer request and any Document showing how the respective
      transfer was transmitted to Jackson and by whom.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. Jackson further objects to the extent the
      Request is overbroad and vague, . . .

      Defendant’s privilege log does not appear to address the objections in this

response. Defendant has failed to withdraw its boilerplate objections, and it remains

unclear whether documents are being withheld.

      REQUEST FOR PRODUCTION 6: All Documents relating to
      payments from the Annuity, including, but not limited to, a copy of the
      check(s) and proof of mailing/delivery.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. Jackson further objects to the extent the
      Request is overbroad, . . .
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      Defendant’s privilege log does not appear to address the objections in this

response. Defendant has failed to withdraw its boiler plate objection, and it remains

unclear whether documents are being withheld.

      REQUEST FOR PRODUCTION 7: All Documents relating to
      payments of premiums into the Annuity, including, but not limited to,
      a copy of the check(s) and any Documents showing how the payment
      was transmitted to Jackson and by whom.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. Jackson further objects to the extent the
      Request is overbroad, . . .

      Defendant’s privilege log does not appear to address the objections in this

response. Defendant has failed to withdraw its boiler plate objection, and it remains

unclear whether documents are being withheld.

      REQUEST FOR PRODUCTION 8: All Documents Jackson relied
      upon in making its decision to issue the Check, including, but not
      limited to, a copy of the known prior signature Jackson contends it used
      to compare to the alleged signature of Mr. Allen on the Withdrawal
      Request.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. . .

      Defendant’s privilege log does not appear to address the objections in this

response.

      REQUEST FOR PRODUCTION 9: All Documents evidencing
      Jackson’s efforts to investigate Plaintiff’s complaint of fraudulent
      activity related to the Withdrawal Request and Check deposit.

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      Documents should include, but are not limited to, Jackson’s complaint
      file, fraud casefile, Casefile Activity Summary sheet, telephone log
      sheets, fraud register, and JNSN Diary entries.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. . .

      Defendant’s privilege log does not appear to address the objections in this

response.

      REQUEST FOR PRODUCTION 10: To the extent not covered by
      request number 9, all Documents Jackson reviewed in its investigation
      related to the Withdrawal Request and Check deposit.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. . .

      Defendant’s privilege log does not appear to address the objections in this

response.

      REQUEST FOR PRODUCTION 11: If there were any other
      investigations of suspected fraud related to the Annuity beyond the
      Withdrawal Request and Check deposit, please produce all Documents
      evidencing Jackson’s efforts in those investigations, including the
      Documents Jackson reviewed.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. . .

      Defendant’s privilege log does not appear to address the objections in this

response.

      REQUEST FOR PRODUCTION 13: All Documents that set forth
      what information, documentation, and instructions Jackson deemed

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      necessary for its receipt of a withdrawal request to be in Good Order.
      Documents should include the information, documentation, and
      instructions in effect at any time between February 1, 2015 and March
      1, 2015. If there were withdrawals beyond the Withdrawal Request, the
      Documents should also include the information, documentation, and
      instructions in effect at the time of those withdrawals.
      RESPONSE: Jackson objects to this Request as overbroad to the extent
      it seeks documents bearing no relation to the events described in the
      Complaint or at issue in this action. . .

      The request is tailored to the period surrounding the withdrawal request at

issue in the lawsuit. Other withdrawal requests are central to Defendant’s defense,

and Plaintiff is entitled to know what constituted Good Order at the times when these

requests were processed.

      REQUEST FOR PRODUCTION 14: All Documents related to
      Jackson’s anti-fraud efforts between February 1, 2010 and the date of
      Your response to these requests, including, but not limited to, Jackson’s
      Procedural Guidelines for its Special Investigation Unit, Jackson’s
      Anti-Fraud Plan, and Jackson’s Fraud Casefile Handling Procedure.
      RESPONSE: Jackson objects to this Request as overbroad to the extent
      it seeks documents related to anti-fraud efforts bearing no relation to
      the events described in the Complaint or at issue in this action. . .

      Plaintiff is entitled to know what policies were in effect during that period as

it pertains to the annuity at issue. Also, Defendant cites to other withdrawal requests

and deposits during that time as part of its defense and at least two of those requests

were fraudulently modified without the Plaintiff’s knowledge or consent. The

request goes to whether Defendant’s policies were followed.


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      REQUEST FOR PRODUCTION 15: To the extent not covered by
      the above requests, any Documents showing the policies and
      procedures Jackson established to detect and deter third parties from
      misappropriating the benefits of Jackson’s policies. Documents should
      include policies and procedures in effect at any time between February
      1, 2010 and the date of Your responses to these requests.
      RESPONSE: Jackson objects to this Request as overbroad to the extent
      it seeks policies and procedures bearing no relation to the events
      described in the Complaint or at issue in this action. . .

      Plaintiff is entitled to know what policies were in effect during that period as

it pertains to the annuity at issue. Also, Defendant cites to other withdrawal requests

and deposits during that time as part of its defense and at least two of those requests

were fraudulently modified without the Plaintiff’s knowledge or consent. The

request goes to whether Defendant’s policies were followed.

      REQUEST FOR PRODUCTION 16: To the extent not covered by
      the above requests, any Documents showing the policies and
      procedures Jackson had/has in place that are designed to protect policy
      owners from fraud. Documents should include policies and procedures
      in effect at any time between February 1, 2010 and the date of Your
      response to these requests.
      RESPONSE: Jackson objects to this Request as overbroad to the extent
      it seeks policies and procedures bearing no relation to the events
      described in the Complaint or at issue in this action. . .

      Plaintiff is entitled to know what policies were in effect during that period as

it pertains to the annuity at issue. Also, Defendant cites to other withdrawal requests

and deposits during that time as part of its defense and at least two of those requests



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were fraudulently modified without the Plaintiff’s knowledge or consent. The

request goes to whether Defendant’s policies were followed.

      REQUEST FOR PRODUCTION 17: All Documents evidencing
      Jackson’s protocol/standard practice for approving a withdrawal from
      an annuity in effect between January 1, 2015 and March 1, 2015.
      RESPONSE: Jackson objects to this Request as overbroad to the extent
      it seeks protocol/standard practice bearing no relation to the events
      described in the Complaint or at issue in this action. . .

      The lawsuit involves Defendant’s approval of the withdrawal request that

happened in February 2015. Presumably Defendant did not have multiple practices

in place at that time. It is unclear how this objection is applicable.

      REQUEST FOR PRODUCTION 18: All Documents evidencing
      Jackson’s protocol/standard practice for approving a transfer of an
      annuity’s value in effect between January 1, 2015 and March 1, 2015.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      protocol/standard practice bearing no relation to the events described in
      the Complaint or at issue in this action. . .

      Defendant’s production refers to suspect transfers that happened around this

time indicative that Defendant may have allowed additional fraudulent activity to

occur with the annuity funds, showing a pattern and Defendant’s failure to

improperly investigate the fraud.

      REQUEST FOR PRODUCTION 19: All documentation of quality
      assurance or internal compliance including checks, flags, inspections,
      or reviews related to the Annuity.



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      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. . .

      Defendant’s privilege log does not appear to address the objections in this

response.

      REQUEST FOR PRODUCTION 20: All Documents pertaining to
      any Communications between Jackson and Sean Kelly that relate to Mr.
      Allen, Mrs. Allen, and the Annuity, including, but not limited to, any
      Communications on February 23, 2015.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. . .

      Defendant’s privilege log does not appear to address the objections in this

response.

      REQUEST FOR PRODUCTION 21: All Documents pertaining to
      any Communications between Jackson and Mr. Allen.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. . .

      Defendant’s privilege log does not appear to address the objections in this

response.

      REQUEST FOR PRODUCTION 22: All Documents pertaining to
      any Communications between Jackson and Mrs. Allen.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. . .



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      Defendant’s privilege log does not appear to address the objections in this

response.

      REQUEST FOR PRODUCTION 23: All Documents pertaining to
      any Communications between Jackson and Plaintiff, including, but not
      limited to, Communications between Jackson’s representative, Elaine
      Furr, and Plaintiff.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. . .

      Defendant’s privilege log does not appear to address the objections in this

response.

      REQUEST FOR PRODUCTION 24: All Documents pertaining to
      any Communications between Jackson and any other person not
      referenced in these requests that relates to Mr. Allen, Mrs. Allen, and
      the Annuity.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. . .

      Defendant’s privilege log does not appear to address the objections in this

response.

      REQUEST FOR PRODUCTION 25: All Documents pertaining to
      any Communications between Jackson’s representative, Elaine Furr,
      and any other person relating to the Annuity.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. . .




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      Defendant’s privilege log does not appear to address the objections in this

response.

      REQUEST FOR PRODUCTION 26: A copy of any contract, license,
      or agreement between Jackson or Jackson National Life Distributors
      and Sean Kelly in effect between February 1, 2010 and the date of Your
      responses to these requests.
      RESPONSE: Jackson objects to this Request to the extent it is
      overbroad in seeking documents having no relationship to the events
      described in the Complaint or at issue in this litigation. . .

      This covers the period from when the annuity was issued and is limited to

specific documents that goes to Defendant’s defense that Mr. Kelly is an independent

contractor, and it is not liable for his actions.

      REQUEST FOR PRODUCTION 27: Any Documents showing how
      much commission Jackson paid to Sean Kelly relating to the Annuity
      and when the commission was paid.
      RESPONSE: Jackson objects to this Request to the extent it is unduly
      burdensome in seeking all documents rather than documents sufficient
      to establish the facts sought. . .

      It is unclear if any documents are being withheld.

      REQUEST FOR PRODUCTION 28: Any Communications with the
      Broker Management Department or any other department at Jackson
      relating to alleged fraudulent broker activity involving Sean Kelly
      between February 1, 2010 and the date of Your responses to these
      requests.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. . .



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      Defendant’s privilege log does not appear to address the objections in this

response.

      REQUEST FOR PRODUCTION 29: Any Documents in Jackson’s
      possession relating to complaints about Sean Kelly between February
      1, 2010 and the date of Your responses to these requests.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. Jackson further objects to this Request as
      overbroad to the extent it seeks documents having no relationship to the
      events described in the Complaint or at issue in this litigation and to the
      extent it seeks documents relating to complaints unrelated to the
      annuity and received after the Withdrawal request was processed.
      Without waiving any objection, responsive documents have been
      produced in response to Request 9. Jackson’s investigation is ongoing,
      including its review of email, and it reserves the right to supplement
      this response.

      This request goes to whether Defendant was on notice of Sean Kelly’s

fraudulent activities and whether it was negligent in its review of the Allens’ file.

      REQUEST FOR PRODUCTION 30: The Representative’s employee
      file.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. Jackson further objects to this Request to the
      extent it is overbroad and unduly burdensome in seeking information
      with no bearing on the facts alleged in the Complaint or at issue in this
      litigation. . .

      Defendant’s privilege log does not appear to address the objections in this

response. It is unclear if any documents are being withheld.



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      REQUEST FOR PRODUCTION 31: Any Documents in Jackson’s
      possession relating to complaints about the Representative, or any
      reprimands of or warnings to the Representative, between February 1,
      2010 and the date of Your responses to these requests.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. Jackson further objects to this Request to the
      extent it is overbroad and unduly burdensome in seeking information
      with no bearing on the facts alleged in the Complaint or at issue in this
      litigation. . .

      Defendant’s privilege log does not appear to address the objections in this

response. It is unclear if any documents are being withheld.

      REQUEST FOR PRODUCTION 34: All Documents that You
      reviewed, consulted, or obtained in responding to Plaintiff’s discovery
      to You, including the First Interrogatories, First Requests for
      Admissions, and First Requests for Production of Documents.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. Jackson further objects to this Request to the
      extent it seeks documents previously withheld pursuant to any
      objection as such objections are incorporated herein, and objects to the
      extent any documents were reviewed but determined to be beyond the
      scope of discovery. . .

      Defendant’s privilege log does not appear to address the objections in this

response. It is unclear if any documents are being withheld.

      REQUEST FOR PRODUCTION 35: All Documents described or
      identified in response to Plaintiff’s First Interrogatories to You.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. Jackson further objects to this Request to the


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      extent it seeks documents previously withheld pursuant to any
      objection, and such objections are incorporated herein. . .

      It is unclear if any documents are being withheld.

      REQUEST FOR PRODUCTION 36: All Documents that evidence,
      reference, relate to, or in any way support Your Answer and defenses
      in this lawsuit.
      RESPONSE: Jackson objects to this Request to the extent it seeks
      documents protected by attorney-client privilege or any other
      confidentiality doctrine. Jackson further objects to this Request to the
      extent it seeks documents previously withheld pursuant to any
      objection, and such objections are incorporated herein. . .

      It is unclear if any documents are being withheld.

      REQUEST FOR ADMISSION 9: Admit that Jackson did not
      investigate who forged Mr. Allen’s signature on the Withdrawal
      Request.
      RESPONSE: . . . Without waiving any objections, Jackson denies. It
      investigated the allegations raised by Plaintiff as set forth in the
      documents produced in response to Request for Production 9 of
      Plaintiff’s First Set of Requests for Production.

      Plaintiff’s Interrogatory No. 8 states “If you deny any of Plaintiff’s First

Requests for Admission below, please state all facts that support each denial and

identify all Documents that relate to Your Response.” Defendant has failed to

provide a narrative.

      REQUEST FOR ADMISSION 10: Admit that Jackson has taken no
      action against the person who forged Mr. Allen’s signature on the
      Withdrawal Request.
      RESPONSE: . . . By way of further response, Jackson has taken action
      by investigating the allegations raised by Plaintiff as set forth in the

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      documents produced in response to Request for Production 9 of
      Plaintiff’s First Set of Requests for Production.

      Defendant has failed to provide a narrative response as required by

Interrogatory 8 (see Request for Admission 9 comments above).

      REQUEST FOR ADMISSION 11: Admit that Jackson did not
      investigate who had misappropriated the Check.
      RESPONSE: . . . Without waiving any objections, Jackson denies. It
      investigated the allegations raised by Plaintiff as set forth in the
      documents produced in response to Request for Production 9 of
      Plaintiff’s First Set of Requests for Production.

      Defendant has failed to provide a narrative response as required by

Interrogatory 8 (see Request for Admission 9 comments above).

      REQUEST FOR ADMISSION 12: Admit that Jackson has taken no
      action against the individual(s) who misappropriated the Check.
      RESPONSE: . . . By way of further response, Jackson has taken action
      by investigating the allegations raised by Plaintiff as set forth in the
      documents produced in response to Request for Production 9 of
      Plaintiff’s First Set of Requests for Production.

      Defendant has failed to provide a narrative response as required by

Interrogatory 8 (see Request for Admission 9 comments above).

      REQUEST FOR ADMISSION 14: Admit that no one at Jackson
      compared the endorsement signature on the Check to the signature on
      the Annuity Application.
      RESPONSE: Denied. By way of further response, Jackson has taken
      action by investigating the allegations raised by Plaintiff as set forth in
      the documents produced in response to Request for Production 9 of
      Plaintiff’s First Set of Requests for Production. Jackson’s investigation


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      is ongoing and it reserves the right to supplement its response to this
      Request.

      Defendant has failed to provide a narrative response as required by

Interrogatory 8 (see Request for Admission 9 comments above).

      REQUEST FOR ADMISSION 15: Admit that no one at Jackson
      compared the alleged signature of Mr. Allen on the Withdrawal Request
      to his signature on the Annuity Application.
      RESPONSE: Denied. By way of further response, Jackson has taken
      action by investigating the allegations raised by Plaintiff as set forth in
      the documents produced in response to Request for Production 9 of
      Plaintiff’s First Set of Requests for Production. . .

      Defendant has failed to provide a narrative response as required by

Interrogatory 8 (see Request for Admission 9 comments above). It is also unclear

whether anyone compared the signature prior to Plaintiff’s complaint of fraud.

      The fact that Defendant has failed to comply with the August Order is only

expounded by the passage of time and its repeated dilatory tactics and

misrepresentations. Specifically, almost three months have passed since the August

Order and more than five months have passed since Plaintiff requested the

information that is the subject of that Order. Throughout that time, Defendant has

made misleading, if not false, representations to Plaintiff’s counsel as to when it

would be supplementing its discovery. As the discovery at issue, especially the

interrogatories, are narrowly tailored and easy to answer, the only logical conclusion

is that Defendant is intentionally hiding facts that are not favorable to it. At a
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minimum, and considering there is only eleven days left until the summary judgment

deadline, the following sanctions are warranted:

      (1) barring Defendant from offering any evidence that would support its

          defenses regarding the steps it took in processing the Withdrawal Request,

          verifying the authenticity of Mr. Allen’s signature, showing that the

          Representative was qualified to process the request and to verify the

          signature, and investigating the fraud,

      (2) finding that Defendant failed to authenticate the signature and properly

          investigate Plaintiff’s fraud complaint; the Representative was not

          qualified; and Defendant failed to take the required steps per the terms of

          the annuity and its policies in processing the Withdrawal Request,

      (3) striking Defendant’s thirteenth defense, and barring Defendant from

          showing how it complied with its policies,

      (4) requiring Defendant to produce any documents being withheld under

          boilerplate objections or, if there are none, to state so, and

      (5) requiring Defendant to state whether any documents are being withheld

          and, if they are, to supplement its privilege log, or if there are none, to

          state so.




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      Defendant should be required to comply with (4) and (5) by a date certain or

face additional sanctions. Further, Defendant should be barred from using any

documents subsequently produced.

      Lastly, Plaintiff is entitled to his attorneys’ fees and costs caused by

Defendant’s failure to comply with this Court’s August Order. See F. R. CIV. P

37(b)(2)(C) (“Instead of or in addition to the orders above, the court must order the

disobedient party, the attorney advising the party, or both to pay the reasonable

expenses, including attorney’s fees, caused by the failure, unless the failure was

substantially justified or other circumstances make an award of expenses unjust.”)

                                   CONCLUSION

      Plaintiff respectfully requests that the Court, pursuant to its powers under Rule

37 and its inherent authority to prevent abuse of the judicial and discovery processes,

sanction Defendant as the Court deems just. Such sanctions are justified here due to

Defendant’s willful failure to comply with the August Order and its repeated

interference with Plaintiff having access to the true facts.

                    [Counsel’s Signature Appears on Next Page]




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      Respectfully submitted, this 9th day of November 2020.
                                          TZOBERI LAW, LLC

                                          /s/ Samantha L. Tzoberi
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                                          Attorney for Plaintiff

                            Certificate of Compliance
      Pursuant to LR 7.1D, NDGa., I certify that the foregoing was prepared using
Times New Roman 14-point font, a font and point selection approved by the Court
in LR 5.1C, NDGa.

                                          /s/ Samantha L. Tzoberi
                                          Samantha L. Tzoberi
                                          Georgia Bar No. 140809

                              Certificate of Service

       The undersigned hereby certifies that on November 9, 2020, she electronically
filed the foregoing using the Case Management/Electronic Case Filing (“CM/ECF”)
system, which will send a Notice of Electronic Filing to counsel of record for
Defendant.

                                          /s/ Samantha L. Tzoberi
                                          Samantha L. Tzoberi




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